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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


Civil Action No. 1:19-cv-02292-RBJ

CTF BM OPERATIONS LTD.,
       Plaintiff,
v.
DELTA ENTERPRISE SOLUTIONS LLC,
       Defendant.


     UNOPPOSED MOTION TO EXTEND DEPOSITION DISCOVERY DEADLINE


       Plaintiff, CTF BM Operations, Ltd., by and through counsel David G. Mayhan and Sarah

Smyth O’Brien of Butler Snow, LLP, respectfully request a second extension of the deposition

discovery deadline as follows:

                                            Conferral

       Counsel for Plaintiff conferred with counsel for Defendant regarding the need for

extension of the discovery deadline due to COVID-19 and stay-at-home orders that made it

difficult to complete discovery. Counsel for both parties have agreed to a fifteen-day extension

of time to complete depositions in this matter. Therefore, this request is filed here as unopposed.

       1.      The Scheduling Order entered by this Court on January 8, 2020 [Doc. # 27] set

the initial discovery deadline for May 1, 2020.

       2.      On April 16, 2020, this Court entered an Order [Doc. # 29] granting a first

extension of the discovery deadline until June 30, 2020.
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       3.      Due to continued interruptions caused by COVID-19 and varying post shelter-in-

place restrictions both in Colorado and the Bahamas, the parties agree that this deadline needs to

be extended to allow for completion of discovery.

       4.      Counsel for both parties are working from home due to the shelter-in-place orders

and to comply with the need for social distancing.

       5.      Consequently, the parties have agreed to a 15-day extension for the completion of

discovery, making the discovery end date July 15, 2020.

       6.      Plaintiff intends to take the deposition of Mr. Kahn during this period. Defendant

has also requested depositions within the extended deadline. Scheduling of these depositions has

been hindered by the virus and stay-in-place orders/curfews.

       7.      Under these circumstances, the parties are unable to complete discovery by the

June 30, 2020 deadline.

       WHEREFORE, the parties respectfully request an extension up to and including July 15,

2020 to complete discovery in this matter.

       Respectfully submitted this 24th day of June, 2020.

                                                    BUTLER SNOW LLP
                                                    s/ David G. Mayhan
                                                    David G. Mayhan
                                                    Sarah Smyth O’Brien
                                                    1801 California Street, Suite 5100
                                                    Denver, Colorado 80202
                                                    Telephone: (720) 330-2300
                                                    Facsimile: (720) 330-2301
                                                    David.Mayhan@butlersnow.com;
                                                    Sarah.OBrien@butlersnow.com
                                                    Attorneys for Plaintiff
                                                    CTF BM Operations LTD
                                                    [Original Signature on File at the Office of Butler Snow LLP]



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                               CERTIFICATE OF SERVICE

        I certify that on this 24th day of June, 2020, a true copy of the foregoing was
electronically filed with the Clerk of the U.S. District Clerk using the ECF system, which will
send notice to all attorneys of record: A copy was also provided via email to counsel for
Defendant and via email to CTF BM Operations, Ltd.



                                           s/Gloria Anzar
                                           Gloria Anzar




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